Case 3:15-cv-07658-MAS-LHG Document 539-43 Filed 04/22/20 Page 1 of 2 PageID: 15863




                          EXHIBIT A
Case 3:15-cv-07658-MAS-LHG Document 539-43 Filed 04/22/20 Page 2 of 2 PageID: 15864




                                          EXHIBIT A

                  In re Valeant Pharmaceuticals International, Inc. Sec. Litig.,
                                 No. 3:15-cv-07658-MAS-LHG
                                          Trief & Olk
                                    Inception through 2016

                    NAME                              HOURS   RATE           LODESTAR
        Ted Trief                           (P)          2.2 $ 750.00           $ 1,650.00
        Barbara E. Olk                      (C)          0.2 $ 650.00           $    130.00
        Shelly L. Friedland                 (P)         33.8 $550.00            $ 18,590.00
        Caitlin Duffy                       (A)          3.2 $350.00            $ 1,120.00
                      TOTAL                             39.4                    $ 21,490.00
        (P) Partner
        (C) Of Counsel
        (A) Associate




                                                  1
